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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
IN RE PACKAGED ICE ANTITRUST Case No. 08-1\/[D-1952
LITIGATION
Paul D. Borman
INDIRECT PURCHASER ACTION United States District lodge

/

CORRECTEDl OPINION AND ORDER
(1) GRANTING INDIRECT PURCHASER PLAINTIFFS’ MOTION FOR
FINAL APPROVAL OF THEIR SETTLEMENT
WITH THE HOl\/[E CITY ICE COl\/[PANY CECF NO. 547);

§2) GRANTING FINAL CERTIFICATION OF THE SETTLEMENT CLASSES',

(3) OVERRULING OBJECTIONS

TO THE SETTLEMENT (ECF NOS. 539, 540, 548 ),'

(4) DENYING OBJECTOR WILLARD’S
MOTION FOR ATTORNEYS’ FEES (ECF NO. 551); AND

(5 1 GRANTING PINAL APPROVAL OF THE SETTLEMENT AGREEWNT

BETWEEN THE INDIRECT PURCHASER PLAINTIFFS AND HOME CITY
This matter is before the Court on the Indireot Purchaser Plaintiffs’
(“Plaintiffs”) Motion for Final Approval oftheir proposed Settlement Agreernent with
Defendant the Home City lee Company (“Home City”). (ECF No. 547, Indirect
Purohaser Plaintiffs’ Motion for Final Approval of Their Settlement With the Home

City Ice Company.) The Court held a Final Fairness Hearing on Jufy 11, 2017 and

heard from both Plaintiffs’ and Home City’s counsel, and also heard from two 7

 

1 Correcting and striking ECF No. 555 . The only correction to the Court’S
8/23/2017 Opinion and Order appears on the last line of page 36, Where the Court
has corrected the name of the Speaking Obj ector to “Obj ector AndreWS.”

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objectors (only three class members filed objections to the proposed Settlernent
Agreement) Who asked to speak at the Final Fairness Hearing. The Court then
required a post-hearing submission to be filed by Plaintiffs addressing the final
number of valid claims filed and the final administrative costs that Would be required
to complete the claims payment process. Plaintiffs timely filed that submission on
July l7, 2017. (ECF No. 5 53, Order; ECF No. 5 54, Indirect Purchaser Plaintift`s’
Response.)

After careful consideration of the Written submissions, as Well as the comments
of counsel and objectors at the Final Fairness Hearing, and based upon this Court’s
nine-year history with this multidistrict litigation that has resulted in the successful
settlement of all disputes With the exception of the present proposed settlement
agreement between the Plaintiffs and Home City, and for the reasons that folloW, the
Court GRANTS Plaintiffs’ motion for final approval of the settlement With Hoine
City.

I. BACKGR()UND

This action is the lead case in the consolidated multidistrict litigation In re
Packaged[ceAntit. Liz‘ig., No. 08-MD-l952. rFhe subject matter is packagedice, sold
in blocks or bags, manufactured by Defendants Reddy lce Holdings, Inc. and its

Wholly owned subsidiary Reddy lee Corporation (“Reddy Ice”), Arctic Glacier

 

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Income Fund, its wholly owned subsidiary Arctic Glacier, Inc. and Arctic Glacier
Inc.’s wholly owned subsidiary Arctic Glacier International, Inc. (“Arctic Glacier”),
and Home City lce Company (“Horne City”), then sold directly to retailers for resale
to their customers This multidistrict litigation involves consolidated actions of both
direct purchaser plaintiffs (retail stores and gas stations) and indirect purchaser
plaintiffs (individuals who purchased from retail stores and gas stations). The direct
and indirect purchaser plaintiffs allege that the Defendants conspired to allocate
customers and markets throughout the United States, in violation of Section l of the
Sherman Antitrust Act, 15 U.S.C. § l.

The private civil suits that form the basis for the present multidistrict litigation
were spawned in large measure by a 2008 criminal investigation by the Department
of Justice (“DOJ”) Antitrust Division into the packaged ice industry and the alleged
anticompetitive conduct of its three largest producers - Reddy lce, Arctic Glacier and
Home City. On June 5, 2008, the Judicial Panel on Multidistrict Litigation (“JPML”)
transferred all then-pending related civil actions to this District and ordered that they
be consolidated for pretrial purposes in this Court. Subsequent related tag-a-long
actions, involving both direct and indirect purchaser claims, have been similarly
transferred to this Court. This Court previously denied motions to dismiss both the

Direct and Indirect Purchaser Complaints. See fn re Packaged Ice, 723 F. Supp. 2d

 

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987 (E.D. l\/Iich. 2010) (Direct Purchasers); In re Pcickaged]ce, 779 F. Supp. 2d 642
(E.D. Mich. 2011) (Indirect Purchasers, Denying in Part and Granting in Part); fn re
Packaged Ice, No. 08~1\/1])-1952, 2011 WL 6178891 (E.D. Mich. Dec. 12, 2011)
(lndirect Purchasers, Denying in Part and Granting in Part).

Subsequent to those deeisions, two of the Defendants, Arctic Glacier and
Reddy lce, filed for bankruptcy protection in other districts All of the claims in the
direct purchaser action have now been resolved through settlement On February 22,
201 1, this Court granted final approval of a proposed settlement agreement between
Home City and the Direct Purchaser Plaintiffs. (ECF No. 329.) On December 13,
201 1, this Court granted final approval of a proposed settlement agreement between
Arctic Glacier and the Direct Purchaser Plaintiffs. (ECF No. 406.) On November 13 ,
2012, this Court granted final approval of a settlement agreement between Reddy Ice
and the Direct Purchaser Plaintiffs. (ECF No. 476.)

On November 18, 2016, the Court received the Direct Purchaser Plaintiffs’
Motion for Authorization to Make a Final Distribution of the Home City Settlement
Funds. (ECF No. 532.) On December 19, 2016, this Court entered an Order
authorizing the final distribution of the settlement funds in the Direct Purchaser case,
which ended the Direct Purchaser portion of this MDL. (ECF No. 536, Order

Authorizing Final Distribution of Settlement Funds.)

 

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The Indirect Purchaser Plaintiffs’ action has proceeded along a less direct path,
as explained in several prior Orders of the Court. To summarize, on May 18, 2012,
the United States Bankruptcy Court for the Northern District of Texas granted final
approval of a settlement agreement between the indirect Purchaser Plaintiffs and
Reddy lee in the amount of$700,000. indirect Purchaser Plaintiffs ’ counsel, the Wild
Law Group, has already received from that settlement fund $233,33 3 .33 in attorneys ’
fees plus $80,000 for ongoing expenses No distribution plan or allocation plan for
the Reddy lee settlement fund is currently in place in the Northern District of Texas.
In 2014, the United States Bankruptcy Court for the District ofDelaware granted final
approval of a settlement agreement, reached between the indirect Purchaser Plaintiffs
and Arctic Glacier in Arctic Glacier’s Canadian bankruptcy proceedings, in the
amount of $3,950,000. (ECF Nos. 497, 498, 502, 503, 504.) lndirect Purchaser
Plaintiffs’ counsel, the WildLaw Group, received attorneys’ fees from that settlement
in the amount of $1.3 million plus $305,000 in costs, $1,000 for each class
representative and a $200,000 “kicker” fee out of the assets of the Arctic Glacier
bankruptcy estate - not out of that settlement fund. A plan of allocation and
distribution was approved in the Arctic Glacier proceeding (ECF No. 504-3,
Proposed Long Form Notice, 13ng 9986-9988.) The claims process for the Arctic

Glacier indirect Purchaser settlement has closed, with a less than robust claims

 

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response, resulting in the filing of approximately 19,000 claims for a $6 payment
Any funds not ultimately distributed from the Arctic Glacier indirect Purchaser
settlement fund will inure to the benefit of the Arctic Glacier bankruptcy estate.

This Court was not invited to weigh in or be involved in any way in the
approval process governing either the Reddy ice or the Arctic Glacier Indirect
Purchaser settlement agreements, both of which were finalized in their respective
bankruptcy proceedings

Thus, the only unresolved aspect of this hiDL litigation that remains for
determination by this Court is the proposed settlement agreement between Home City
and the indirect Purchaser Plaintiffs that is presently before the Court for final
approval. The process of approval for the Home City settlement with the indirect
Purchasers has faced its own challenges in this Court, with the Court sending Indirect
Purchaser Plaintiffs’ counsel back to the drawing board on several occasions for a
variety of issues that, in the opinion of this Court, were significant to the overall
fairness and reasonableness of the Settlement Agreement. in summary, the indirect
Purchaser Plaintiffs filed their initial motion for preliminary approval of their
settlement with Home City on April 10, 20l2. (ECF No. 442, l\/iotion to Approve
Consent Judgment for Preliminary Approval and Permission to Disseminate Notice.)

The Court identified several failings in the proposed notices that required revision

 

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and following the hearing on the Indirect Purchaser Plaintiffs’ initial motion for
preliminary approval of the Home City Settlement Agreement, it was agreed that any
final resolution of the preliminary approval motion should await the outcome of the
Arctic Glacier Bankruptcy proceedings that were concurrently underway in
Winnipeg, Canada. (ECF No. 472, Transcript of OCt. 19, 2012 at 41.)

As discussed Supra, the Reddy ice and Arctic Glacier settlements with the
Indirect Purchaser Plaintiffs were approved in other districts in 2012 and 2014, and
proceedings in this Court on the Home City Settlement With the indirect Purchaser
Plaintiffs were put on hold pending the outcome of the Arctic Glacier settlement On
July 3 1, 2014, following the Delaware bankruptcy court’ s final approval of the Arctic
Glacier settlement, the indirect Purchaser Plaintiffs supplemented in this Court their
previously-filed motion for preliminary approval of their proposed Settlement
Agreement with Home City. (ECF No. 504, Supplemental Brief.) On March 11,
2015 , this Court ordered indirect Purchaser Plaintif`fs to appear for a status conference
on April 6, 2015, to discuss what the Court determined were several remaining
insufficiencies in the proposed Settlement Agreement and proposed Notice. (ECF
No. 512, Transcript of` April 6, 2015 Status Conference.) Following that Status
Conference, the Court directed the indirect Purchaser Plaintiffs to make several

changes and resubmit the motion and proposed notices. On January 25, 2016, the

 

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Court issued an Order requiring the indirect Purchaser Plaintiffs to submit a written
status report by February l6, 2016. The Court ordered the parties to appear for a
status conference on February 23, 2016, to update the Court on their progress On
February 15, 2016, Class Counsel for the Indirect Purchaser Plaintiffs submitted a
written response to the Court’s January 25, 2016 Order, which presented not only the
changes to the proposed notices that the Court had requested in April, 2015, but in
addition presented an entirely new proposed settlement agreement with Home City
that sought to combine the Home City fund with the Reddy ice settlement fund for
a common distribution (ECF No. 5l7, Class Counsel for indirect Purchaser
Plaintiffs’ Response to Court’s Order Dated January 25, 2016.) in the end, because
of significant legal problems caused by combining the funds, the Court rejected this
proposed combination of the Home City and Reddy ice settlement funds and ordered
the Home City parties to revert to their original proposed Settlement Agreement.
(ECF No. 526, August 9, 2016 Opinion and Order Denying Motion to Approve
Consent Judgment.) On October 26, 2016, indirect Purchaser Plaintiffs submitted
their Motion for Order Granting Preliminary Approval of indirect Purchasers’
Settlement with Home City Ice Co. (ECF No. 529.) The Court held a hearing on the
motion for preliminary approval on November 17, 2016 and requested Class Counsel

to provide additional information regarding critical dates that were missing from the

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information submitted in support of the motion for preliminary approval (ECF No.
53 1 , Transcript of 1 1/17/2016 Hearing.) Those supplemental materials were provided
to the Court on November 27, 20 l 6. (ECF No. 533, Supplemental Brief.) The Court
issued its Order Granting Preliminary Approval and Authorization to Disseminate
Notice on December 7, 20 l 6, setting a date for the Final Fairness i-iearing of July 1 1,
2017. (ECF No. 535.)

On .lune 6, 2017, the indirect Purchaser Plaintiffs submitted the Motion for
Order Granting Final Approval of the Home City Settlement that is presently before
the Court. (ECF No. 547, l\/lotion for Final Approval.) Having considered the
extensive briefings and history of this case, and having considered the three
objections to the Home City Settlement Agreement that have been filed with the
Court, the Court is now persuaded that a fair, reasonable, and adequate settlement
agreement has been reached by these parties, and that the best practicable notice of
that agreement has been disseminated to the Class Members. The Court finds that the
Settlement Classes satisfy the requirements of Fed. R. Civ. P. 23(a) and 23(b)(2) and
(b)(3) and further finds that the settlement is fair, reasonable and adequate
Accordingly, the Court will CERTIFY the Settlement Classes l and ii, and GRANT
the motion for final approval of the Settlement Agreement between the indirect

Purchaser Plaintiffs and Home City.

 

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II. JURISDICTION

This Court has personal jurisdiction over the Plaintiffs, the Classes, and
Defendants and subj ect matter jurisdiction over the action pursuant to Section 1 of the
Sherman Act, 15 U.S.C. § 1, Section 16 ofthe Clayton Act, 15 U.S.C. §26, 28 U.S.C.
§ 1331, and 28 U.S.C. § 1367.
III. THE TERMS OF 'I`I-IE SETTLEMENT AGREEMENT

The Settlement Agreement consists of: (1) the Original March 7, 2012
Settlement Agreement (ECF No. 529, Ex. 2); (2) a December 20, 2012 Modification
Agreement (ECF No. 480, Notice, EX. 2, l\/iodification Agreement) (“the Original
Modification Agreement); and (3) an October 24, 2016 Modification Agreement
(ECF No. 529, EX. 3) (“the 2016 l\/iodification Agreement”) (collectively “The
Settlement Agreement.”)

A. The Proposed Settlement Classes

The Proposed Settlement Agreement provides for two separate settlement
classes:

Class I _ All purchasers of Packaged ice who purchased Packaged ice

in the United States indirectly from any of the Defendants or their

subsidiaries or affiliates (including all predecessors thereof) at any time

during the period from January 1, 2001 and March 6, 2008. Excluded

from the Settlement Class are governmental entities and Defendants,

including their parents, subsidiaries predecessors or successors
Defendants’ co-conspirators, and the Releasees.

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Class II - All purchasers ofPackaged ice who purchased Paekaged lee

in Arizona, Arkansas, California, District ofColumbia, Florida, illinois

lowa, Kansas, Maine, Massaehusetts, l\/iichigan, l\/Iinnesota, l\/iississippi,

Missouri, Nebraska, Nevada, New Hamp shire, New Mexico, New York,

North Carolina, North i)akota, South Dakota, Tennessee, Utah,

Vermont, West Virginia, Wisconsin and Wyoming, indirectly from any

of the Defendants or their subsidiaries or affiliates at any time between

ianuary l, 2001 and l\/.[arch 6, 2008. EXcluded from the Settlement

Class are governmental entities and Defendants, including their parents

subsidiaries predecessors or successors Defendants’ co-conspirators,

and the Releasees.

(ECF No. 529, l\/iot. Ex. 2, Settlement Agreement lljl 11, 13.)

The Proposed Settlement Agreement further provides that in the event that a
new indirect purchaser class action brought under the law of a state other than those
states covered in Settlement Class ll, Home City has the right until final approval to
add that state to the Class ii states provided Home City first moves to dismiss those
claims and is denied such relief. Home City also agrees to pay the increased notice
costs associated with any states that are added to the Class ii states in such a manner.
(Settlement Agreement ll 32.)

Home City agreed to, and did, comply with all notice and filing requirements

under the Class Action Fairness Act (“CAFA”). (Settlement Agreement ll 21; ECF

No. 541, Certification of CAFA Compliance.)

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B. The Proposed Settlement Amount and Injunctive Relief
The Proposed Settlement Agreement provides for injunctive Relief to Class 1
and Class II Members, and Monetary Relief to only Class li Members.

1. The Settlement Amount (available for distribution only to Class II
members)

The Proposed Settlement Agreement provides that:

Home City shall pay or cause to be paid the Settlement Amount of two

million seven hundred thousand Dollars ($2,700,000) in settlement of

the Action. The Settlement Amount shall be wire transferred by Home

City within fifteen (15) business days after the Exeeution Date. The

Settlement Payment shall be paid into the Settlement Fund, which shall

be established as an escrow account designated by Class Counsel, and

administered in accordance with the provisions of Section G of this

Agreement. in the event that the Court denies preliminary approval, the

Settlement Payment shall be returned to Home City.
(ECF No. 529, EX. 2, Settlement Agreement il 25.) This amount has been transferred
into an escrow account of the Wild Law Group PLLC and is federally insured The
Modification Agreement gives Class Counsel certain rights and places certain
limitations on Class Counsel’s handling of the Settlement Fund. (ECF No. 529, EX.
3, 2016 Modification Agreement ll 5.) The 2016 Modification Agreement also
authorized an increase in the amount of Settlement Funds permitted to be spent for

purposes of providing notice, generating claims and/or administering the Settlement

from 8500,000 to 13650,000. (2016 Modification Agreement il 4.) This increase was

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necessitated in part by the Court imposed changes to the proposed Notiees, which the
Court found to be insufficient when Plaintiffs first presented their motion for
preliminary approval of the Home City Settlement Agreement. (BCF No. 459, Order
Requiring Submission ofRevised Notices; ECF No. 472, Transcript of Oct. l9, 2012
Hearing on indirect Purchasers’ Motion to Approve Consent Judgment for
Preliminary Approval and Permission to Disseminate Notice 32.)
2. Inj unctive Relief (available to Class I and Class II)
The Proposed Settlement Agreement provides that Home City shall consent to
entry of an injunction that provides:
Home City is hereby enjoined from entering into any combination,
conspiracy or agreement with Arctic Glacier International, inc., Reddy
ice Corporation or other person or entity or organization to allocate
Paekaged ice customers territories or markets or raise, fix, maintain, or
stabilize the price of Packaged ice that would be considered a per se
unlawful restraint of trade under Section 1 of the Sherman Act.
(ECF No. 529, EX. 2, Settlement Agreement ll 26.) The injunction lasts for a period
of three (3) years from the “Effective Date” of the Settlement Agreeinent, as defined
in ll 22 of the Settlement Agreement, and does not prohibit Home City from entering

into lawful joint venture arrangements or acquisitions or from establishing or

maintaining eo-packing relationships in the course of its business ]d.

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C. Notice

The October 24, 2016 Modification Agreement provides that: “Pursuant to an
order granting preliminary approval, notice of the settlement and claims generation
shall be done in a manner ordered by the Court.” (ECF No. 529, Ex. 3, 2016
Modification Agreement ll 3 .) The Revised Notices which explain the nature of the
action in general terms and also explain what class members are entitled to receive,
along with their rights to object and exclude themselves were attached to the indirect
Purchaser Plaintiff"s motion for preliminary approval Plaintiffs agreed to and did
provide direct mail notice to all Arctic Glacier claimants For the remaining million
plus consumers as to whom individual notice would be impractical, Plaintiffs agreed
to and did advertise in both Parade and USA lToday, which have an aggregate
circulation of 22,000,000. Plaintiffs also agreed to and did employ an internet
outreach program that directs consumers to a dedicated website. The Court
concluded in its Preliminary Approval Order that the Revised Notices were
“reasonably calculated under all the circumstances to apprise Class l\/iembers of the
pendency of the action and to afford them an opportunity to obj ect.” UA Wv. General
Motors Corp., 497 F.3d 615, 629 (6th Cir. 2007). See discussion infra at Sections V

and Vi, regarding the Notice campaign and the Claims Proeedure.

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D. The Claims and Releases

The Claims are defined as any and all actions . . . that are related to the subject
matter of this MDL Litigation. (ECF No. 529, Ex. 2, Settlement Agreement ll 1.)
Releasors are defined by the Class to which they belong, i.e. Class 1 Releasors and
Class ll Releasors. id. llll 7, 9. Releasees are defined as Home City and all of its
officers directors and affiliates not including any of the Reddy ice or Arctic Glacier
entities id. ll 6.

E. Attorneys’ Fees, Clear Sailing Clause, and Inceiltive Awards

The Settlement Agreement provided that Class Counsel may seek up to
$900,000 in attorneys’ fees but Class Counsel has elected to seek _z_em attorneys’ fees
from the Home City Settlement Fund. (ECF No. 544, Notice of No Attorney Fee
Application.) in addition, while the original Settlement Agreement did contain a
Clear Sailing Clause, Settlement Agreement ll 31, it was deleted in the 2016
Modification Agreement, 2016 Modification Agreement ll 7. in any event, the issue
of the Clear Sailing_Clause is now moot, given that Class Counsel does not intend to
seek any attorneys’ fees from the Home City Settlement Fund. in addition to Class
Counsel waiving any claim to attorneys’ fees the named Plaintiffs are not seeking

any incentive awards

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IV. CERTIFICATION OF THE SETTLEMENT CLASSES
For purposes of this proposed settlement only, two settlement classes have

been defined:
Settlement Class l

All purchasers of Packaged lee2 who purchased Packaged ice in the
United States indirectly from any of the Defendants or their subsidiaries
or affiliates (including all predecessors thereof) at any time during the
period from January 1, 2001 to March 6, 2008. Excluded from
Settlement Class i are governmental entities Defendants including their
parents subsidiaries predecessors or successors and Defendants’ co~
conspirators and the Releasees li.e. The Home City ice Company and
its past and present officers directors individual shareholders
employees and the successors heirs and executors of each of the
foregoing and each of The Home City ice Company’s subsidiaries and
divisions and the predecessors and successors-in-interest of each].

And,
Settlement Class il

All purchasers ofPackaged lee who purchased Packaged lee in Arizona,
Arkansas, California, District of Columbia, Florida, illinois lowa,
Kansas, Maine, Massachusetts Michigan, Minnesota, Mississippi,
l\/Iissouri, Nebraska, Nevada, New Hamp shire, New Mexico, New York,
North Carolina, North Dakota, South Dakota, Tennessee, Utah,
Vermont, West Virginia, Wisconsin and/or Wyoming, indirectly from
any of the i)efendants or their subsidiaries or affiliates (including all
predecessors thereof) at any time during the period from lanuary 1 , 200l
to March 6, 2008. Excluded from Settlement Class ii are governmental
entities Defendants, including their parents subsidiaries predecessors
or successors Defendants’ eo-conspirators, and the Releasees [i.e. The

 

2 “Packaged ice” means ice packaged in bags as well as ice sold in blocks

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Home City lee Company and its past and present officers directors
individual shareholders employees and the successors heirs and
executors of each of the foregoing and each of The Home City ice
Company’s subsidiaries and divisions and the predecessors and
successors~in-interest of eachl.

“Before a court may certify a class it must ensure that the class satisfies each
ofRule 23 (a)’s requirements and that it falls within one of three categories permitted
by Rule 23(b).” UA W, 497 F.3d at 625 (citing Sprague v. General Morors Corp. , l33
F.3d 388, 397 (6th Cir. 1998)). The Court finds that both Settlement Classes satisfy
the Rule 23 requirements

A. Both Settlement Classes Satisfy tile Requirements of Rule 23(a).

Federal Rule of Civil Procedure 23 (a) provides that class members may
represent a class if the following prerequisites are satisfied:

(1) the class is so numerous that joinder of all members is impracticable;

(2) there are questions of law or fact common to the class

(3) the claims or defenses of the representative parties are typical of the claims
or defenses of the class;

(4) the representative parties will fairly and adequately protect the interests of
the class .

Fed. R. Civ. P. 23(a). These four prerequisites are met here with respect to both

Settlement Class l and Settlement Class ii:

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1. Rule 23(a)(1): Plaintiffs submit that there are over one million putative
class members A class of this size satisfies the numerosity requirement See UA W,
497 F.3d at 625 (finding that where settlement class consisted of 476,676 members
the numerosity requirement “require[d] little discussion” and was “undoubtedly so
numerous that joinder of all members is impracticable”). “Given the large number of
potential class members and the relatively small claim each one has for damages
individual lawsuits are clearly impracticable, and Rule 23(a)( l) is satisfied.” la re M3
Power Razor Sys. Marketing & Sczles Practz`ce Li`ri`g., 270 F.R.D. 45 , 54 (l). Mass
2010).

2. Rule 23(a)(2): “The requirement of commonality requires only a
common question of law or fact.” UAWV. Ford Motor Co., No. 06~cv~10311, 2006
WL 1984363, at * 19 (E.D. l\/lich. luly 13. 2006) (citing Birringer v. Tecumseh Prods.
CO. ,' 123 F.?)d 877, 884 (6th Cir. l997)). Here Classes l and ll share a single common
question - “‘whether Defendants conspired to allocate territories and customers and
whether their unlawful conduct caused Packaged lee prices to be higher than they
would have been absent such illegal behavior. ”’ In re Packaged lee Antit. Li'tz`g., No.
08-cv-1952, 2011 WL 717519, at *6 (E.D. Mich. Feb. 22, 2011).

3. Rule 23(3)(3)-: The claims of the Class Representatives are typical of

the Settlement Class in satisfaction of Rule 23(a)(3). “‘A plaintiffs claim is typical

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lunder Rule 23 (a)(3) l if it arises from the same event or practice or course of conduct
that gives rise to the claims of other class members and if his or her claims are based
on the same legal theory.”’ Forci Motor, 2006 WL 19843 63, at *19 (quoting fn re
Am. Med. Sys., 75 F.3d 1069, 1082 (6th Cir. 1996)) (alteration in original). The
members of Settlement Class l each have claims that arise from the same course of
conduct, i.e. a conspiracy to allocate markets in violation of the Sherman Act, and
their claims are based on the same legal theory which entitles them to claim injunctive
relief under § 16 of the Clayton Act. The members of Settlement Class il rely on the
same course of conduct, i.e. a conspiracy to allocate markets and their claims are
cognizable under the various state antitrust laws in these states that have enacted
Illinois Brickj repealer statutes entitling indirect purchasers to seek monetary relief
premised on an alleged antitrust injury, i.e. the passed-on overcharge for packaged
ice, an injury common to each Settlement ll class member. The typicality
requirement, which is “not onerous” is satisfied as to both Settlement Class l and li.

Ford Motor, 2006 WL 1984363, at *19.

 

3 Illi`nois Bri`ck Co. v. Illinoi`s, 431 U.S. 720 (1977). ln Illinois Brick, the Supreme
Court held that only direct purchasers had standing under the federal Sherman Act to
sue for monetary damages resulting from an alleged antitrust injury. Following
Illz'noi`s Brick, numerous states including those defined in Settlement Class ll, enacted
legislation which allowed indirect purchasers to sue for money damages for such
antitrust injury. These statutes are colloquially referred to as Illinois Bri'ck repealer
statutes

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4. l Rule 23 (a)(4): The named Plaintiffs will fairly and adequately represent
the interests of the Settlement Class Members in satisfaction ofRule 23(a)(4). “The
two criteria for determining whether class representatives are adequate are ‘(1) the
representatives must have common interests with unnamed members of the class and
(2) it must appear that the representatives will vigorously prosecute the interests of
the class through qualified counsel ”’ Ford Motor, 2006 WL 1984363, at *19
(quoting Senter v. General Morors Corp., 532 F.2d 511, 525 (6th Cir. 1976)).
Plaintiff’s interests are aligned with the Class Members because they all possess the
same interests and have suffered the same alleged injury, i.e. they have each allegedly
paid more for packaged ice than they would have paid absent the alleged conspiracy.
There is no indication that the named Plaintiff’ s interests are unjustifiany advanced
at the expense of unnamed Class l\/lembers or that the named Plaintiff's interests
conflict in any way with those of the Class Members. Lessard v. City ofAllei/z Park,
372 F. Supp. 2d 1007, 1009 (E.D. Mich. 2005) (“ln determining fairness a court

should consider whether the interests of counsel and the named plaintiffs are

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‘unjustifiably advanced at the expense of unnamed class members ) (quoting

Williams v. Vukovi'ch, 720 F.2d 909, 921-23 (6th Cir. 1983)). ln regards to this
settlement with Home City, there are no incentive awards being given to the named

Plaintiffs and Indirect Purchaser Plaintiffs’ counsel is seeking no attorneys’ fees

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There can be no claim that the interests of the named Plaintiffs and class counsel are
being advanced at the expense of the unnamed class members

B. Both Settlement Classes Satisfy at Least One of the Requirements
of Rule 23(b)

1. Settlement Classes l and II satisfy Rule 23(b)(3)

Rule 23(b)(3) will be met if “questions of law or fact common to the members
of the class predominate over any questions affecting only individual members and
. . . a class action is superior to other available methods for the fair and efficient
adjudication of the controversy.” Fed. R. Civ. P. 23(b)(3). “‘Predominance is a test
readily met in certain cases alleging . . . violations of the antitrust laws because proof
of the conspiracy is a common question that is thought to predominate over the other
issues of the case.” fn re Scrap Mez‘al Antitrust Litz`g., 527 F.3d 517, 535 (6th Cir.
2008) (quoting Amchem Prods, Inc. v. Wi'ndsor, 521 U.S. 59l,625 (1997)) (finding
that allegations of price fixing and market allocation will not vary among the class
members),

“Parallel with Rule 23(a)(2)’s commonality element, which provides that a
proposed class must share a common question of law or fact, Rule 23(b)(3)’s
predominance requirement imposes a more rigorous obligation upon a reviewing

court to ensure that issues common to the class predominate over those affecting only

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individual class members.” Sullivan v. DB Investments, Inc., 667 F.3d 273, 297 (3d
Cir. 201 1). The Court’s inquiry questions whether Home City’s conduct, i.e. alleged
ami-competitive market allocation, was common as to all class members and whether
the resulting injuries payment ofpassed-on supracompetitive prices for packaged ice,
were common to all class members Sullz`i)an, 667 F.3d at 297-98. in answering this
question, the Court is mindful that “variations in state law do not necessarily defeat
predominance,” and that “concerns regarding variations in state law largely dissipate
when a court is considering certification of a settlement class” Id. Specifically in
Sullivan, the court concluded that variations in state antitrust laws did not defeat the
commonality and predominance requirements

lClommonality is satisfied where common questions generate common
answers “apt to drive the resolution of the litigation.” That is exactly
what is presented here, for the answers to questions about [Home City’ s]
alleged misconduct and the harm it caused would be common as to all
of the class members and would thus inform the resolution of the
litigation if it were not being settled

Specifically, here, plaintiffs allege that [Home City] engaged in
anticompetitive activity [that] resulted in a common injury as to all class
members-inflated lpackaged ice] prices_in violation of federal
antitrust law, and the antitrust, consumer protection, or unjust
enrichment laws of every state and the District of Columbia. in this
respect, [Home City’s anticompetitivel conduct lies at the core of
plaintiffs’ claims as do the common injuries which all class members
suffered as a result. Based upon our case law, we can distill that each
class member shares a similar legal question arising from whether
[Home Cityl engaged in a broad conspiracy that was aimed to and did

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affect diamond prices in the United States. Evidence for this legal
question would entail generalized common proof as to the
implementation of [Home City’ s] conspiracy, the form of the conspiracy,
and the duration and extent of the conspiracy.

The plaintiffs likewise share common factual questions as to whether
[Home City] acted in concert to artificially fiX, maintain, and stabilize
prices and to monopolize trade and commerce in the market for
[packaged ice] and whether said activity resulted in an inflation in the
prices of [packaged ice] sold to consumers.” These allegations are
unaffected by the particularized conduct of individual class members, as
proof of liability and liability itself would depend entirely upon [Home
City’ s] allegedly anticompetitive activities lndeed, the presence of these
questions stemming solely from [Home City’s] asserted behavior and the
fact that all class members purchased [packaged ice] is an apt illustration
of why the predominance test is readily met in certain cases alleging
consumer [] fraud or violations of the antitrust laws. Considering this
presentation of common issues, a finding that common inquiries
predominated over individual questions particular to any putative class
member appears reasonably within the discretion of the District Court.

667 F.3d at 299-300 (internal quotation marks and citations omitted) (alterations
added).

So too here. The allegations of market and customer allocation will not vary
among the class members and issues regarding the amount of damages do not destroy
predominance fn re Scrap Metal, 527 F.3d at 535_36. “Nothing in [the] case law
or the language of Rule 23 commands that everyone in a class must allege precisely
identical or ‘°uniform” causes of action and statutory variations do not defeat

predominance in the presence of other exceedingly common issues.” Sullivan, 667

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F.3d at 302. These observations are particularly true in the context of a settlement-
only class, where the Court need not be concerned with “intractable [case]
management problems.” Id. at 304 (internal quotation marks and citations omitted)
(alteration added).

The superiority requirement is satisfied here because no class member has
incentive to sue individually to recover $6 or $12. “The realistic alternative to a class
action is not 17 million individual suits each seeking damages of $15 to $30 . . . but
zero individual suits, as only a lunatic or a fanatic sues for $3().” Camegie v.
Householdlnt’l., Inc., 376 F.3d 656, 661 (7th Cir. 2004) (emphasis in original).

2. Class I Satisfies Rule 23(b)(2)

Rule 23 (b)(2) permits class certification only when the Rule 23 (a) requirements
are met and “the party opposing the class has acted or refused to act on grounds that
apply generally to the class, so that final injunctive relief or corresponding
declaratory relief is appropriate respecting the class as a whole.” Fed. R. Civ. P.
23(b)(2). As the Court’s discussion of predominance, supra, demonstrates, “the
common elements of the complained of conduct [] are equally applicable to the class
as a whole.” Sullivan, 667 F.3d at 318. Thus, the injunctive relief sought is likely to
“benefit the entire class” Id. Where, as here, the injunctive relief “Seek[s] to define

the relationship between the defendant and the ‘world at large,” the requirements of

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Rule 23 (b)(2) are generally satisfied:
[T]he plaintiffs alleged that [Home City’s] anticompetitive behavior
caused the entire membership of all classes to pay artificially inflated
prices, and that, in the absence of injunctive relief, all classes would
continue to pay artificial [prices]. These claims demonstrate shared
interests between the members of the putative class, and, these
allegations, if proven, would support injunctive relief respecting the

class as a whole. Likewise, the parties’ mutual decision to settle claims

“on grounds generally applicable to the class” complies with the text of

Rule 23(b)(2) and should be respected
Sullivan, 667 F.Bd at 318.

The injunctive relief afforded to members of Settlement Class l is not
“valueless and illusory.” On the contrary, Class l members who are not also members
of Class ll do not waive monetary claims against Home City - in the event that a state
previously remaining faithful to Illinois Brick opted to enact state antitrust legislation
that afforded indirect purchasers a claim, Home City would be vulnerable to those
claims. Furthermore, in addition to promising that it will refrain from violating the
antitrust laws in the future, “Home City has agreed to be subject to the continued
jurisdiction of the Court through the stipulated injunction, [giving] Plaintiffs a
mechanism by which to hold Home City accountable for its future actions that would

not otherwise be available without such an agreement.” (ECF No. 542, Response of

Home City to Willard Objection.) (Alteration added).

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V. NOTICE TO THE CLASSES

Rust Consulting, lnc. (“Rust”) handled the notice and claims processing for the
Indirect Purchaser Plaintiffs’ Settlement Agreement with Home City. CECF No. 549,
Declaration of Heidi A. Taylor 111[ l~2.) Rust specializes in Class Action notification
and claims administration, including telephone and web-based support, direct mail
services, claims processing, and Settlement fund distribution. Rust has provided
services in class actions ranging in size from 100 class members to 100 million class
members and has provided notification and/ or claims administration services in more
than 3,500 class actions. (Taylor Decl. jj 2.)

As Settlement Administrator for the Home City ice Settlement, Rust was
engaged to and did perform the following services: (l) prepare and design the claim
form for notice and mailing and design the notification notice mailing; (2) prepare,
design, and place the media campaign; (3) prepare and host the settlement website
(www.homecitvicesettlement.com) which included a summary of the Settlement and
Legal Rights of Class l\/_lembers, a definition of the Settlement Classes, the Long
Form Notice and claims documents, a list of Prequently Asked Questions, and
downloadable PDF’s of important Court documents including (a) the Consolidated
Complaint, (b) the Settlement Agreement, (c) the 201 6 Modification Agreement, and

(d) the Preliminary Approval Order; (4) establish a toll-free number for class

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members to call with questions; (5) receive claim forms and other correspondence at
a dedicated PO Box; (6) process documents received, including sorting, date-
stamping, and bar-coding into categories; (7) scanning claim forms and supporting
documentation; (8) capture data included in each claim form; (9) communicate with
counsel throughout and continuously update website and call center. (Taylor Decl.
fill 3-9-)

Between lanuary 24, 2017 and May 17, 2017, there were 375,309 unique
visitors to the Home City Settlement website and in that period of time there were
l4l,924 online claims submitted (Taylor Decl. 111 10-1 l.) Also, on or about January
27, 2017, Rust direct mailed Claim Forms with Notice to 18,921 prospective class
members who previously participated in the Arctic Glacier claims process. (Taylor
Decl. 11 12.) The Claim Form clearly explained how to access the Home City
Settlement website for further information and clearly set forth the claims filing
deadline and the three categories of purchases which qualify class members to
participate in the settlement and the corresponding claim amounts for each category.
The Claim Form included a copy of the Short Form Notice explaining who is
included in the Settlement Classes, what the Settlement provides, what Class
l\/lernbers are eligible to receive, and how to get a payment (Id. Ex. 2, Claim Forrn

and Notice.) See inj?”cz discussion at section Vl regarding the Plan ofAllocation and

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Claims Process.

In,addition to the mailed notice and the information available on the Home City
Settlement website, Rust placed a Short Form Notice in a 1/6 page advertisement that
appeared in USA Today on Januar'y 3 l, 2017, with an estimated circulation of
975,139. Rust also placed a Short Form Notice in a half-page advertisement that
appeared in Parade Magazine on ]anuary 29, 20l7, with an estimated circulation of
22,000,000. (Taylor Decl. fill l3-15, Ex. 3, Short Forrn Notice.)

in addition to the advertising in USA Today and Parade Magazine, and the
direct mail notice to Arctic Glacier claimants, online advertisements of the Settlement
appeared across a variety of sites and networks, including: (l) online networks ~
banner ads appeared across avariety of networks delivering approximately 8,452,41 l
“impressions” or opportunities for the advertisements to be seen; (2) blogs ~ banner
ads appeared on a variety of blo gs that feature content on related topics ; (3) Facebook
m newsfeed ads were delivered on Facebook using targeted tactics to reach people
who have expressed interest in related topics; (4) Twitter ~» sponsored/promoted
Tweets were delivered using targeted tactics, reaching followers of handles about
related topics. (Taylor Decl.7 ll 16.) In addition, a link about the Settlement was
posted on a Facebook page and Twitter handle followed by consumers with interest

in class action lawsuits (Taylor Decl. 11 17.) Finally, on lanuary 3l, 2017, a press

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release was distributed on PR Newswire’s USl National newsline, which is
distributed to over l5,000 print and broadcast outlets and over 4,550 online media
outlets. The press release was picked up by over 135 news outlets, with a potential
audience of 89 million people. (Taylor Decl. ll 18, Ex. 4.) The Settlement received
additional media coverage from organizations and entities that picked up and
republished news of the Settlement These media releases appeared with captions
such as “Class Action Settlement Announced lnvolving Packaged lce,°’ and
“Packaged ice Settlement - No Proof of Purchase Needed.” (Taylor Decl. il 18, Ex.
5-)
VI. THE PLAN OF ALLOCATION AND THE CLAIMS PROCEDURE
The allocation plan reimburses consumers up to $12 without proof of purchase
for up to the purchase of 12 bags/blocks of ice and an additional $2 for each
additional bag/block purchased more than 12 with proof of purchase The Long Form
Notice, the Short Form Notice, and the Claim Form itself, each clearly explained that
Class ll Members who (l) purchased 1-6 bags/blocks of ice from any of the
Defendants in the Class Period were eligible to receive 556 without proof of
purchase/payment, (2) purchased 7~12 bags/blocks of ice from any of the Defendants
in the Class Period were eligible to receive 312 without proof of purchase/payment,

and (3) purchased more than 12 bags of ice (i.e. 13 or more) from the Defendants

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during the Class Period were eligible to receive $12 for the first 12 bags/blocks and
an additional $2 for each additional bag/block with proof of purchase (Taylor Decl.
Bx. 2; ECF No. 533, Supp. Br. With Revised Notices Exs. 2-5.)

Since lune 29, 2017, Rust has received a total of 151,029 claims that were filed
either online or mailed by prospective Class Members, 148,808 of which were
deemed timely. (Taylor Decl. jljl 20-21.) Timely claims were segregated by the
number of bags or blocks claimed with the following results:

' 15,906 claims for more than 12 bags/blocks;

128,299 claims for 7-12 bags/blocks;

l

4,537 claims for 1-6 bagsfblocks;

66 claims where claim form was not signed or no ice was claimed
(Taylor Decl. il 22.)
Upon review of the 15,906 claims for more than 12 bags/blocks, which
required proof of purchase/payment, only 18 claims were received with relevant
7 supporting documentation, and of those 18 only 12 provided sufficient documentation
to determine the quantities of ice actually purchased so that a claim amount could be
determined The remaining 6 were identified for follow-up with the claimant
(Taylor Decl. 11 23.) As to the remaining 15,694 claims for more than 12 bags that

had no documentation of proof of purchase, those claims were defaulted to the 7~ 12

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bag category, increasing the number of claims in the 7-12 bag category to 144,187.
(Taylor Decl. 11 23.)

As of the date of the filing of the initial Taylor Declaration, the validation
process for these timely claims was incomplete and the Court requested that Class
Counsel file an update with the Court, setting forth the final number of claims to be
paid, with corresponding dollar amounts, and a final estimate of Rust’s costs to
complete the claims process. (ECF No. 553, luly 11, 2017 Order Regarding Final
Fairness Hearing.) On July 17, 2017, Indirect Purchaser Plaintiffs filed their
Response to the Court’s luly l 1, 2017 Order, attaching the Supplemental Declaration
of Heidi Taylor. (ECF No. 554, indirect Purchaser Plaintiffs’ Response to the Court’s
Order Dated luly 11, 2017, Ex. l.)

Plaintiffs’ Response explains that, due to indirect Purchaser Plaintiffs’
Counsel’s decision to waive any award of attorneys’ fees from the Settlement Fund,
See ECF No. 544, Notice of No Attorney Fee Application, there is an amount of
money in the Settlement Fund that exceeds the amount necessary to pay each valid
claim per the $6, $12, and $l2-plus amounts set forth in the Notices and Claim
Forms. Consequently, Rust has estimated the dollar amounts per claimant to be
higher than proposed in the Plan of Allocation. The possibility of such a proportional

increase was explained in the Notices and the Claim Forms:

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Any money that may be left after claims are paid and expenses and
attorneys’ fees are deducted may be distributed by increasing payment
amounts proportionally or extending the claims filing deadline and
advertising to attract more claims.

(See, e.g. ECF No. 549-2, Short Form Notice PgID 11275.)

In calculating the final claims payment numbers, Rust assumed that the
Settlement Fund of $2.7 million would be reduced by $649,921.00, which Rust
estimates will be its total charge for fees and expenses for this proj ect. (ECF No. 5 54,
Ex. 1, Supp. Taylor Decl. il 5 .) This figure falls just within the $650,000 allotment for
these costs set forth in the 2016 Modification Agreement and leaves $2,050,079 in
the Settlement Fund for claims payments.

Given the total funds remaining in the Settlement Fund, Rust estimates the
payouts per claim will be higher than set forth in the Plan of Allocation and will be
as follows:

’ $7.92 for 1-6 bags/blocks for 4,024 households, totaling at least

$`31, 870;
- $15.84 for 7 or more bags/blocks of ice without proof of purchase
for 124,482 households, totaling at least $1,971,795;

° $15.84 plus $2.64 for each bag/ block of ice over 12 with proof of

purchase, totaling at least $7,690. There are 15 claims of

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households falling into this category but 6 of them are still being
asked to provide additional documentation, so that this figure is
still subject to change Rust used the average of the 9 households
with sufficient documentation, an average of 385 4 per household,
to estimate that the total payments in this category could reach
$ 12, 8 1 0.

(Supp. Taylor Decl. 11 6.)

Thus, as of July 17, 2017, Rust estimated that the total claims payments could
reach $2,016,475 out of the $2,050,079 remaining in the Settlement Fund after
payment of Rust’s final administration costs. The estimated remaining $33,604 in
Settlement Funds will be used in calculating the final pro~rata distribution once the
claims process for the 6 remaining households in the 12 or more bag category has
been completed upon final submission of proof of purchase documentation (Supp.
Taylor Decl. 11 7.)

The Court preliminarily approved the Notice program for the Home City
Settlement, concluding that it was “reasonably calculated, under all the
circumstances, to apprise interested parties of the pendency of the action and to afford
them an opportunity to present their objections.” UAW, 497 F.3d at 629. l\/ls.

Taylor’ s Declarations confirm that the Notice outreach was successfully executed and

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that the exposure that the Home City Settlement received through the online
activities, the banner ads on blogs, the Facebook and Twitter ads, as well as the media
coverage from the news outlets that picked up the press release on the PR Newswire
and republished the information regarding the Home City Settlement and how to
participate, all demonstrate the outreach was robust and was the best practicable
under the circumstances of this case. The claims response rate of nearly 150,000 was
almost ten times the response received in the Arctic Glacier settlement process that
was approved by the Delaware Bankruptcy court and demonstrates the efficacy of
Class Counsel’s positive enhancements to the Notice outreach for the Home City
Settlement The fact that there were millions of consumers Who could have
participated but did not cannot be used as a measure of the adequacy of the Notice
program under the circumstances of this case. See In re Serzone Pdcts. Liab. Lr'tig.,
231 F.R.D. 221, 235-36 (S.D. W.Va. 2005) (concluding that a claims rate of 6,524
claimants out of a settlement class that could have potentially included millions did
not demonstrate the inadequacy of the notice, noting that “many factors contribute to
the claims response rate,” and observing that “claims response levels will tend to vary
with the circumstances, types of class notices employed, and size of individual claims
involved in each case”) (internal quotation marks and citations omitted). Where, as

here, the Defendant “engaged in customary and court approved notice procedure, the

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response rate [is] not determinative of the adequacy of the class notice.” ]d. There
are a multitude of reasons that consumers would elect not to participate in a
settlement process of this nature. That being said, it is an indication of the success
of the Notice outreach that nonetheless nearly 150,000 claimants did respond to the
Notice and did attempt to participate, and that of those claimants, nearly 130,000
households will receive money from the Settlement Fund.

Finally, Class Counsel has explained that the Settlement Funds have generated
approximately $42,335. 19 in interest This amount was not included in the potential
payout schedule because, pursuant to 11 2 of the December 20, 2012 l\/Iodification
Agreernent and 11 4 of the 2016 Modification Agreement, Class Counsel is permitted
to use the interest earned on the Settlement Funds to satisfy payments and expenses
associated with taxation matters incurred in relation to the Settlement Fund. Class
Counsel anticipates and hopes that the tax preparation liabilities will be less than the
interest earned, and represents that any amount of interest not needed for such tax
preparation expenses will be added to the Settlement Fund for claims payment

However, because this exact amount is unknown, Rust based its calculation only on

the $2,700,000 principal of the Fund. CECF No. 554, Pls.’ Resp. 4, Png 1l378.)

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VII. FAIRNESS, REASONABLENESS, AND ADEQUACY OF THE
SETTLEMENT AGREEMENT

“Rule 23 (e) governs class action settlements and mandates that the court may
approve a settlement upon holding a fairness hearing and concluding that it is ‘fair,
reasonable, and adequate.”’ Gascho v. Global Fz'tness Holdz`ngs, LLC, 822 F.3d 269,
276 (6th Cir. 2016). The Sixth Circuit has set out the following factors to guide this
inquiry:

(1) the risk of fraud or collusion; (2) the complexity, expense, and likely

duration of the litigation; (3) the amount of discovery engaged in by the

parties; (4) the likelihood of success on the merits; (5) the opinions of

class counsel and class representatives; (6) the reaction of absent class

members; and (7) the public interest
Gascho, 822 F.3d at 276 (quoting UAW, 497 F.3d at 631.)

A. The Risk of Fraud or Collusion

“Courts respect the integrity of counsel and presume the absence of fraud or
collusion in negotiating the settlement, unless evidence to the contrary is offered.”
Ford Moror, 2006 WL 1984363 at * 26. There is no evidence or even an allegation
in this case of any collusion between Class Counsel on the one hand and the Home
City Graydon Headlaw firm or any of the parties to the negotiations and all are

presumed to have acted in good faith. This factor weighs in favor of final approval

In fact, the baseless suggestion of Objector Andrews at the Final Fairness Hearing of

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such a potential was an affront to both the Court and to counsel.

B. The Complexity, Expense, and Likely Duration of a Trial and the
Amount of })iscovery Conducted to })ate

“[T]he prospect of a trial necessarily involves the risk that Plaintiffs would
obtain little or no recovery.”[n Re Cardizem CDAntitrustLitig., 218 F.R.D. 5 08, 523
(E.D. Mich. 2003). “Experience proves that, no matter how confident trial counsel
may be, they cannot predict with 100% accuracy a jury's favorable verdict,
particularly in complex antitrust litigation.” Id. “[A]n antitrust action is arguably the
most complex action to prosecute . . . The legal and factual issues involved are always
numerous and uncertain in outcome.” In re Lz`nerboard/lnrit. Litz`g. , 321 F. Supp. 2d
619, 629 (E.D. Pa. 2004) (internal quotation marks and citations omitted). As this
Court noted in approving the Direct Purchaser’s settlement with Home City, “an
antitrust litigation of this scope has great complexity and undeniable inherent risks,
such as whether the class[es] will be certified and upheld on appeal, whether the
conspiracy as alleged in the Complaint can be established whether Plaintiffs will be
able to demonstrate class wide antitrust impact and ultimately whether Plaintiffs will
be able to prove damages.” In re Packagedlce, 2011 WL 717519, at *10. And in an
indirect purchaser case, “the problem of proof [] is intrinsically more complex,

because the damage model must account for the action of innocent intermediaries

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who allegedly passed on the overcharge.” In re Graphics Processing Units Arztit.
Lr'tz'g., 253 F.R.D. 478, 499 (N.D. Cal. 2008). This factor weighs in favor of
settlement, as discussed more hilly below in the evaluation of the likelihood of
success on the merits weighed against the amount and form of the relief by
settlement

As noted above, this proposed settlement between the Indirect Purchaser
Plaintiffs and Home City is the very last piece that will close this nine-year long MDL
litigation Although the original Settlement Agreement was reached years ago, and
indeed was definitely an ice~breaker in the litigation given Home City’s early
agreement to cooperate, the Court’s analysis of this Settlement now benefits from the
knowledge gained in all that has transpired since the original Settlement Agreement
was reached in 2012. The “stage of proceedings” factor asks the Court to consider
whether “counsel had an adequate appreciation of the merits of the case before
negotiating.” Sullz`van, 667 F.3d at 321. This was not the first settlement agreement
reached in this 2008 MDL action and, as discussed Supra, much had been learned by l
2012 when this Settlement Agreement was reached Class Counsel was well
informed of the shortcomings (and any strengths) of this case when the Settlement
Agreement was negotiated This factor weighs in favor of approval of the Settlement

Agreement.

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C. The Likelihood of Success on the Merits Weighed Against Relief
()btained in the Settlement Agreement

This Court “cannot judge the fairness of a proposed compromise without
weighing the plaintiffs likelihood of success on the merits against the amount and
form of the relief offered in the settlement.” UAW, 497 F.3d at 631 (internal
quotation marks and citations omitted). Here, as a starting point and as a highly
significant fact, the Indirect Purchaser Plaintiffs would face a very tough legal battle
in establishing a nationwide conspiracy. Following their investigation into the
packaged ice industry, the Department of J ustice did not bring nationwide conspiracy
charges but charged only a criminal antitrust conspiracy in Southeastern Michigan.
The DOJ closed its investigation without pursuing nationwide conspiracy charges:

Plaintiffs point out, and the Court notes, that the Department of lustice
has closed its investigation of the Packaged lce industry and, while
certainly not dispositive of Plaintiffs’ claims, this is a factor which
favors settlement See fn re Pressure Sensitive Labelstock Anrirrust
Lz'tig., 584 F. Supp.2 d 697, 702 (M.D. Pa.2008) (“Risks of establishing
liability and damages are substantial [and] the criminal investigation

_ that likely instigated this antitrust litigation was concluded without the
issuance of any indictments.”); Rodriguez v. WestPublishi:/zg Corp., 563
F.3d 948, 964 (9th Cir. 2009) (finding that district court did not abuse
its discretion in considering that “there were no government coattails for
the class to ride”). Plaintiffs also note that their case alleges a
nationwide conspiracy, while certain Defendants have pled guilty only
to antitrust violations in Southeastern l\/Iichigan. Plaintiffs also state that
the November 15~17, 2010 deposition of Keith Corbin, a retired Arctic
Glacier executive who features prominently in the allegations of the
CAC, did not change their analysis of their chances of success.

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In re Packagedlce, 2011 WL 717519, at *9.4 These same considerations apply here,
even more, since any evidence in this case that might favor the Plaintiffs has become
increasingly stale, and related litigation involving the former Arctic Glacier employee
and whistleblower, Martin McNuity, resulted in dismissal by this Court and an
abandoned appeal. n

Another hurdle for these indirect Purchasers to overcome would be the
certification of a litigation settlement class. As the court noted in Sullz`van, the
complexities of certifying a nationwide indirect purchaser class are far less of a
concern in the settlement context than they become in the litigation conteXt, where
courts Will face “intractable case management” issues. Sullivan, 667 F.3d at 304. See
also fn re Warfarin Sodium Am‘it. Lz`tig. , 391 F.3d 5 l6, 537 (Bd Cir. 2004) (“Although
Appellant’s concerns about the manageability of a multistate class of consumers . .
. did not pose a problem for the certification of a settlement class, there is a
significant risk that such a class would create intractable management problems if it
were to become a litigation class, and therefore be decertified.”). Particular issues of

damages proofs plague class certification of nationwide antitrust actions. Comcast

 

4 The criminal antitrust conspiracy indictment was brought in the Southern District
of Ohio. Judge Herman Weber presided over the criminal antitrust proceeding The
indictment charged Defendants Arctic Glacier and Home City with crimes committed
in the Southern District of Michigan.

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Corp. v. Behrenal, 133 S. Ct. 1426, 1433 (2013) (concluding that plaintiffs’ antitrust
nationwide class action was improperly certified and holding that “damages must be
capabie of measurement on a classwide basis”); In re Cathocle Ray Tube (Crzj Antit.
Litig., No. 07-cv-5944, 2016 WL 721680, a’*‘37 (N.D. Cal. Jan. 28, 2016) (approving
indirect purchaser class for purposes of settlement only and noting that indirect
purchaser plaintiffs would have a “severe hurdle” to overcome demonstrating a valid
method for proving pass through overcharges) (citing Behrenal) (Quinn, l\/[J), adopted
impart ar andjinal approval granted at 2016 WL 3648478 (N.D. Cal. ]uly 7, 2016).

Thus, Indirect Purchaser Plaintiffs would be required to establish that they
could demonstrate antitrust injury, i.e. pass-through overcharges, through common
proof. Given the individual markets involved in the alleged market allocation
conspiracy, and possible variations in state antitrust laws, this would be a “severe
hurdie” for Plaintiffs at the litigation stage. Indirect Purchaser Plaintiffs must
establish that the direct purchasers passed on to them the effects of the
supracompetitive pricing the direct purchasers claim to have paid as a result of the
alleged conspiracy. In fact, it is this difficulty of proof that in part spurred the
decision in Illinoz`s Brick to limit monetary recovery for antitrust violations under the
Sherman Act to direct purchasers See fn re Graphz'cs, 253 F.R.D. at 499 (“the

problem of proof in an indirect purchaser case is intrinsically more complex, because

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the damage model must account for the actions of innocent intermediaries who
allegedly passed on the overcharge,” as recognized in Illinois Brick) (internal
quotation marks and citations omitted). And, because in this case the allegations
involved claims of market allocation, the Plaintiffs’ proofs would necessarily have
to account for the potential differences in competition in the various markets across
the country in which the Defendants competed for the packaged ice market The
impact of the alleged collusion, particularly given the DOJ’s election not to proceed
on a nationwide conspiracy theory, would be difficult to establish
Balanced against all of this significant risk to the Indirect Purchaser Plaintiffs
in succeeding on their claims should this case proceed to trial is the $2.7 million
settlement achieved on their behalf, which will amount to just over $2 million once
notice and claims administration costs are deducted First, it must be remembered
_ that the Home City settlements, in both the Direct Purchaser and Indirect Purchaser
actions, were among the first to occur and were important ice breakers, providing
significant cooperation that no doubt played a substantial role in the eventual
settlements reached with the other Defendants As this Court noted in evaluating the
Direct Purchaser’s settlement with Home City, the value of such cooperation weighs
in favor of approval of the Settlement Agreement. fn re Packaged Ice, 201l WL

717519, at *10. See also In re Pressw'e Sensz`tz've Labelstock/lntifrust Litig., 584 F.

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Supp. 2d 697, 702 (M.D. Pa.2008) (“the benefit of obtaining the cooperation of the
Settling Defendants tends to offset the fact that they would be able to withstand a
larger judgment.”).

Finally, the Settlement Amount of $2.7 million is a substantial settlement for
these Indirect Purchasers under the facts of this case. “[T]here is no reason, at least
in theory, why a satisfactory settlement could not amount to a hundredth or even a
thousandth part of a single percent of the potential recovery.” fn re Polyarerhane
Foam Anrir. Litig., 168 F. Supp. 3d 985, 100i (N.D. Ohio 2016) (internal quotation
marks and citation omitted). “The propriety of a settlement must be assessed as a
function of both (1) the size of the amount relative to the best possible recovery; and
(2) the likelihood of non-recovery (or reduced recovery).” Id. (internal quotation
marks and citation omitted). in this Indirect Purchaser nationwide antitrust action,
there was a real risk of complete non~recovery.

Plaintiffs state that the $2.7 million represents approximately 2% of Home
City’s sales in the Class ll states during the Class Period and Mr. Roberts, Counsel
for Home City, confirmed at the Final Fairness Hearing that Home City’ s sales in the
year this lawsuit was filed were around $90 million and that less than half of the
states in which Home City sold were illinois Brick repealer states, confirming that

Plaintiffs’ 2% figure was not far off. As discussed infra in response to the Objection

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of Objector Andrews, even assuming that the $2.7 million Settlement figure may
actually fail somewhere between 1.5% and 2.0% of Home City’s sales in the Class
ll states, such a recovery has been recognized as fair and reasonable in many antitrust
class action lawsuits See, e.g., In re Pressure Sensiz‘z've Lal)elstock, 584 F. Supp. 2d
at 702 (approving cash settlement that was 1.5% of defendants’ sales during the class
period and finding this percentage “within the range of settlements approved in other
class actions” in that district); Mez`jer, Inc. v. 384 No. 04-5871, 2006 WL 23 82718 at
*16 (E.l). Pa. Aug. l4, 2006) ($28.9 million settlement represented 2% of settling
defendant’s sales to class members); fn re Linerboaral, 321 F. Supp. 2d at 627
(approving settlement that represented l.62% of settling defendants’ sales); fn re
Automotive RefinishingPainrAntirrusrLitz`g., l\/fDL No. 1426, 2004 WL 1068807, at
*2 (E.D. Pa. l\/lay ll, 2004) (preliminarily approving settlement that represented 2%
of sales).

But more important, the adequacy of any settlement amount is a function of
both the possible best case recovery and the potential for complete non-recovery
should the case proceed to trial. Irz re Polyurerhane, 168 F. Supp. 3d at 1001. The
settlement amount cannot be considered in a vacuum and, if argued to be “grossly
inadequate” it can only be so “in light of the strength of the case presented by

plaintiffs.” fn re Serzone, 23 1 F.R.D. at 244-45. ln this Indirect Purchaser litigation,

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in which the DOJ did not seek indictments on a nationwide basis but limited its
criminal charges to Southeastern Michigan, these Indirect Purchaser Plaintiffs faced
a very difficult uphill battle, both in certifying a litigation class and in proving both
the existence of a nationwide conspiracy, and in proving that the supracompetitive
pricing allegedly paid by the Direct Purchasers was passed through to the individual
consumer

Also, as discussed supra, the injunctive relief has significant value because all
Class l members benefit from being able to hold Home City accountable in this Court
for any antitrust violations for a period of three years following Final Approval of this
Order without necessity of filing a new lawsuit None of the hurdles that necessarily
would face litigation of this Indirect Purchaser action, discussed supra, would have
to be overcome if Home City violated the injunction ~ Class Members could simply
proceed in this Court to enforce the terms of the Settlement Agreement.

D. The Opinions of Class Counsel and Class Representatives

Class Counsel has had their work cut out for them in taking on this Indirect
Purchaser Litigation, and have remained actively involved in the case through its
numerous bankruptcies, obtaining the assistance of bankruptcy counsel in the Reddy
ice Texas bankruptcy proceedings, and appearing regularly in the Arctic Glacier

Canadian bankruptcy proceedings and in the Delaware bankruptcy proceedings,

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representing the interests of the Indirect Purchaser class. ln addition, as Class
Counsel summarized in the motion for Final Approval, Class Counsel’s investigation
included:

Reviewing publicly available information about the investigation and
the Defendants (including statements from the Department of lustice
concerning the outcome of the investigation); coordinating with the
lawyer for the two government informants (Martin McNulty and Gary
Mowery) in the criminal cases; consulting with a leading economist
firm; analyzing the tapes and transcripts of intercepted telephone
conversations between Home City, Arctic Glacier and Reddy
employees; reviewing certain documents produced in connection with
and the transcript of, Keith Corbin’s deposition; interviewing executives
from a national supermarket chain to understand how antitrust
overcharges are passed on and how consumers who purchased packaged
ice can be identified and tracked; and conducting their own independent
factual investigation

(ECF No. 547, Pls.’ l\/fot. at 9.) These are among the factors that this Court found
persuasive in determining that this factor weighed in favor of approval in the Direct
Purchaser case. fn re Packaged]ce, 2011 WL 717519, at * l l. The same holds true
even more here and this factor weighs in favor of approval of the Indirect Purchaser
Plaintiffs’ settlement with Home City.

E. The Reaction of Absent Class Members

There were three Obj ections to the Settlement Agreement and one apparent
Opt-Out that was “phoned in” to l\/lr. Roberts, counsel for Home City, the day before

the Final Fairness Hearing. All three Objections focused primarily on the $900,000

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attorneys’ fee provision, which is no longer an issue given Class Counsel’s decision
not to seek any attorneys’ fee from the Home City Settlement The Objections are as
follows:

l. Christopher Andrews (ECF No. 539, Obj ection). Objector Andrews is
a serial objector _ that is to say he seeks out and regularly objects to class action
settlements across the country.5 Andrews filed a 42-page rambling Objection, largely
lacking in evidentiary and/or legal support. Andrews requested and was granted
permission to appear, and did appear and speak, at the Final Fairness Hearing. (ECF
No. 545.) He filed a claim for 7~12 bags of ice. (ECF No. 539, Png 10900). He
states that he used ice to keep drinks cold for players when participating in numerous
inline hockey tournaments The Court will not address the litany of objections that
Andrews, a practiced Obj ector, mounts, as many of them utterly lack both evidentiary

and legal basis. The following Objections, however, merit mention:

 

5 See, e.g. 1a re Polyurerhane Foam Arza`t. Litig., 168 F. Supp. 3d 985, 994, 998 (N.D.
Ohio 2016) (addressin g Andrews’ objections to the class action settlement and noting
that Andrews “repeatedly makes baseless accusations using inappropriate language,”
and raised “rnany unfounded, conclusory, and frivolous obj ections,” and addressing
only a few and specifically rejecting “completeiy the inflammatory and conclusory
accusations of fraud by pro se objector Andrews”). This description of Mr. Andrews’
conduct aptly depicts his participation in this Class Action Final Fairness hearing
This Court was similarly offended by Mr. Andrews’ suggestions of fraudulent
conduct between Class Counsel and counsel for Home City in this case. And this
Court too will address only a few of l\/lr. Andrews’ otherwise baseless, and frankly
offensive, objections.

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° The “sky high, unverified $650, OOOfor expenses associated with
notice, claims generation and settlement administration This
objection is not well taken because Rust has verified its expenses
in great detail, and the Court has studied and Validated Rust’s
expenses, and the need for its activities in this case.

° The “anseen undocumented fees motion ” This objection is moot
given Class Counsel°s decision not to seek any attorneys’ fees
from the Home City Settlement

' The settlement amount of $2. 7 million is inadequate This
objection is based on Andrews’ assumption that Home City’s
sales were`$80 million/year for each of the 7 years in the class
period. That would be a total of approximately $560,000,000 in
total sales during the Class Period. l\/lr. Roberts explained at the
Final Fairness hearing that fewer than half of the states in which
Home City sold ice were lllinois Brtclc repealer states that would
be home to Class ll members lf less than half of Home City’s
sales were in Class ll states, approximately $200,000,000 in sales,
2% of that would be $4 million and the Settlement Arnount in this
case is $2.7 million. indirect Purchaser Plaintiffs represent that
the $2.7 million represents approximately 2% of Home City’s
sales in the Class ll states during the Class Period. Assuming the
Obj ector’ s figures are accurate, the Settlement figure may actually
fall somewhere between l.5% and 2.0% of Home City’s sales in
the Class ll states. As discussed snpra, such a recovery has been
recognized as fair and reasonable in many antitrust class action
lawsuits See, e.g., ln re Lal)elstockAntitrnstLitig., 584 F. Supp.
2d at 702 ($8.25 million settlement equal to 1.5% of settling
defendant’s sales during the class period); Meijer, 2006 WL
23 8271 8 at * 16 ($28.9 million settlement represented 2% of
settling defendants sales to class members); In re Linerl)oard
AntitrustLitig., 321 F. Supp. 2d at 627 (approving settlement that
represented 1 .62% of settling defendants’ sales); ln reAatomotive
Rej€nishing Paint Antitrast Litig., 2004 WL 1068807, at *2
(approving settlement that represented 2% of sales); ln re
Pressnre Sensitive Lal)elsto'ck Antit. Litig., 584 F. Supp. 2d at

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702 (approving cash settlement that was l.5% of defendants’
sales during the class period and finding this percentage “within

` the range of settlements approved in other class actions” in that
district). As discussed supra, the settlement amount cannot be
considered in a vacuum and, if argued to be “grossly inadequate”
it can only be so “in light of the strength of the case presented by
plaintiffs.” ln re Serzone, 231 F.R.D. at 244-45. ln this Indirect
Purchaser litigation, in which the DOJ did not seek indictments
on a nationwide basis but limited its criminal charges to
Southeastern l\/lichigan, these Plaintiffs faced a very difficult
uphill battle, both in certifying a litigation class and in proving
both the existence of the conspiracy and their overcharge pass-
through damages ln light of all of these hurdles, which Objector
Andrews fails to note, this Objection to the adequacy of the
settlement is OVERRULED.

' T here was no disclosure regarding the release ofclaims. This
objection is not well taken because the Notice specifically
informed Class Members that the right to sue that they were
giving up was explained in detail in the Settlement Agreement
which was available at all times on the website. lf the Notice had
contained this type of detail, it would have been too many words
and much more expensive lt was adequate.

~ T he claims rate of nearly 150,000 claimants out of millions of
consumers represents a “clear failure ” of the notice program
This objection is not well taken. As explained supra in the
Court’s discussion of the Notice campaign, the response rate is
not indicative of the adequacy of the Notice under the
circumstances of this case. See fn re Serzone, 231 F.R.D. at 236
(concluding that a claims rate of 6,524 claimants out of a
settlement class that could have potentially included millions did
not demonstrate the inadequacy of the notice, noting that “many
factors contribute to the claims response rate,” and observing that
“claims response levels will tend to vary with the circumstances
types of class notices employed, and size of individual claims
involved in each case). Where, as here, the Defendant “engaged

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in customary and court approved notice procedure, the response
rate [is] not determinative of the adequacy of the class notice,”
Ial. lt is an indication of the success of the Notice outreach here
that nearly 150,000 claimants, nearly 10 times the response rate
in the Arctic Glacier Indirect Purchaser settlement, did respond to
the Notice and did attempt to participate, and that of those
claimants, nearly 130,000 households Will receive money from
the Settlement Fund, fully exhausting the Settlement Fund after
Notice and claims processing expenses are paid.

2. The Willard Obj ection. (ECF No. 540.) Objector Willard requested and
was granted the opportunity to appear through counsel, Mr. MacDonald, and be heard
at the Final Fairness Hearing.

° Willard’s principal objection is to Wild’s $900,00{) fee request
As Willard admits in his motion for attorneys fees, “Class
Counsel’s decision to waive their $900,000 fee would likely have
outweighed Willard’s remaining objections to the proposed
settlement.” (ECF No. 551, Willard Fee Motion 9, PgID 11340.)
This objection is now moot.

‘ Willard also filed a Motion for Attomeys’ Fees, claiming credit
for persuading Class Counsel to drop the request for attorneys’
fees from the Home City Settlement Fund. The Court DENIES
this motion. Class Counsel opted not to file a motion seeking
attorneys’ fees from the Home City Settlement Fund long before
Willard filed his Objection. There is no evidence, in fact Class
Counsel expressly denies, that Willard’s Objection, filed after
Class Counsel had let the deadline for his fee motion come and
go, had any influence on the decision not to seek attorneys’ fees
from the Home City Settlement Fund.

3. Pamela Sweeney Objection. (ECF No. 548.) Sweeney did not request

to appear and be heard.

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° Sweeney, like Willard and Andrews, principally objects to the
3900,000 fee award request This objection is moot.

' Coricerri over lack of oversight by the Court over the remaining
claims process Sweeney suggests that Class Counsel be required
to file a final summary and accounting The Court had always
intended to request a final report and accounting, which is
provided for in this Opinion and Order and in the separate Fed. R.
Civ. P. 54(b) Final Order and ludgment filed separately this day.

There were only 3 objections filed to the Settlement Agreement, and over
150,000 Class l\/Iembers who have attempted to participate in the Settlement Each
of the Obj ections focused principally on Class Counsel’s $900,000 fee request, Which
is no longer an issue. Andrews, who admits to quite a history as an objector in class
actions, came up with a host of other “issues” in his written submissions and at the
Final Fairness Hearing, but in fact conceded in an email to Class Counsel prior to the
Final Faimess hearing that his primary objection was to the $900,000 fee request
Andrews claimed in his Email to Class Counsel that because his Objection had
“caused Class counsel to drop the entire fee,” Andrews was considering dropping his
Objection and considering the fee withdrawl “a feather in his cap.” (ECF No. 574-4,
Pgll) l 1206, l\/lay 26, 20 l 7 Email from Andrews to Wild.) This Court disagrees with
Andrews’ statement that his Obj ection affected Class Counsel’s intention not to seek

a fee (as discussed supra with respect to the Willard Obj ection, Class Counsel did not

file a motion for attomeys’ fees, clearing communicating his intent not to seek a fee,

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long before Andrews filed his Objections). Regardless, however, of what prompted
Class Counsel’s decision not to seek attorneys’ fees from the Home City Settlement
Fund, any objection to the fee request is now moot. The fee request was, by Objector
Andrews’ own admission, the driving force behind his Objection. That issue is now
moot and none ofAndrews’ other “obj ections” lead the Court to question the fairness,
reasonableness, or adequacy of this Settlement Agreement.

In summary, none ofObj ections has convinced the Court to disallow this arm’ s
length, well~informed and fairly-bargained agreement, negotiated after years of
diligent work by Class Counsel on behalf of this Class, to finally resolve these
Indirect Purchasers’ claims, claims that would be exceedingly difficult to prove
should this case go to trial. This truly is a case in which the prospect of the Class
Members actually receiving nothing were this Court to disapprove of the Settlement
Agreement is more than a platitude - it is a real possibility

F. The Public Interest

“[T]here is a strong public interest in encouraging settlement of complex
litigation and class action suits because they are ‘notoriously difficult and
unpredictable’ and settlement conserves judicial resources.” Iri re Carclizem, 219
F.R.D. at 530. There do not appear to the Court to be any countervailing public

interests that would suggest that the Court should disapprove the Settlement

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Agreement. This factor weighs in favor of final approval.
VIII. C()NCLUSION

Indirect Purchaser Plaintiffs have adequately established that the proposed
Settlement Agreement with Home City is fair, reasonable, and adequate, and have
established that Settlement Classes l and II should be certified as settlement classes
under Fed. R. Civ. P. 23(a) and 23(b)(2) and (3).

Accordingly, it is ORDERED that:

(l) The Indirect Purchasers’ Motion for Final Approval of Their Settlement
with`the Home City Ice Company (ECF No. 547) is GRANTED and the Settlement
Agreement is APPROVED;

(2) The Andrews and Willard Objections to the Settlement Agreement are
ovERRULED (ECF Nee. 539, 540) end the sweeney objeeaen (ECF Ne. 548) le 7
noted insofar as it asks the Court to require a final report and accounting following
Rust’s completion of the claims process, which the Court had required in the Direct
Purchaser action, and intended to do here, and is otherwise OVERRULED;

(3) Settlement Classesl and ll are certified for purposes of this settlement only
under Fed. R. Civ. P. 23(a) and 23(b) (2) and (3);

(4) Obj ector Willard’s Motion for Attorneys’ Fees (ECF No. 5 5 1) is DENIED;

(5) A Fed. R. Civ. P. 54(b) Final Approval Order and Judgment is entered

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separately this same day.

 

rr is so oRDERED. / s ~~~~~~~ »
c / ix rul/j § ,/-- -M c"“/r ___________________
reel D. Be`“rme`e "“ """""""
Dated: SEP 1 9 2017 United States District Judge

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